                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
 ______________________________________________________________________________

PREPARED FOOD PHOTOS, INC. f/k/a/
ADLIFE MARKETING & COMMUNICATIONS CO., INC.,
                                                                     Honorable William Duffin

                   Plaintiff,                                       Case No. 2:22-cv-652
       vs.

KARL’S COUNTRY MARKET, INC.

                Defendant and Third Party Plaintiff,

      vs.

HOMETOWN PUBLICATIONS II, INC. d/b/a EXPRESS NEWS
c/o Registered Agent Ken Ubert,
8990 N. 51st Street
Brown Deer, WI 53223

      Third - Party Defendant.
______________________________________________________________________________

                              THIRD PARTY COMPLAINT
  _____________________________________________________________________________

       NOW COMES the defendant and third-party plaintiff, Karl’s Country Market, Inc. by its

attorneys, Jeffrey Leavell, S.C., and for its third party complaint against Hometown Publications II,

Inc. d/b/a Express News alleges as follows:

       1.       The plaintiff in this action is Prepared Food Photos, Inc. allegedly formerly known as

Adlife Marketing Communication Co. Inc. with an address of 8927 Hypoluxo Road, Lake Worth

Road, Palm Beach County, FL 33467.

       2.       The defendant and third-party plaintiff is Karl’s Country Market, Inc. doing business

at W156N5645 Pilgrim Rd, Menomonee Falls, WI 53051. (Karl’s)

       3.       The third-party defendant is Hometown Publications II, Inc. doing business as Express



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News with offices at 8990 N. 51st St., Brown Deer, Wisconsin. (“Express News”)

       4.      This Court has supplemental jurisdiction over the third-party defendant as allowed by

28 U. S. Code §1367.

       5.      The plaintiff in this action filed a complaint against the defendant Karl’s alleging

copyright infringement resulting from use of photographs in Karl’s advertising on the internet and in

paper flyers, and the complaint making specific allegations is attached hereto as Exhibit 1.

       6.      Karl’s filed and served an answer to the complaint generally denying copyright

infringement or denying knowledge or information as to it, and its answer and affirmative defenses

is attached hereto as Exhibit 2.

       7.      Express News selected all of the photographs alleged and depicted in the complaint,

and placed them into Karl’s advertising, both on the internet and in paper flyers.

       8.      Karl’s understood based on representations from Express News, and relied on those

representations, that Express News had authority and license to use the photographs it selected for

Karl’s advertising.

       9.      While Karl’s has denied liability to the plaintiff, if the plaintiff does receive any

judgment or recovery against Karl’s, then Karl’s will be entitled to judgment against the third-party

defendant for contribution or indemnification for the amount of damages and costs awarded to the

plaintiff as a matter of law and equity.

       WHEREFORE Karl’s County Market, Inc. seeks judgment dismissing the complaint upon

its merits with all taxable costs, and, in the alternative, judgment for contribution or indemnification

as allowed by law or equity against the third-party defendant with all taxable costs.

  DEFENDANT KARL’S COUNTRY MARKET, INC., HEREBY DEMANDS
     TRIAL BY 12 PERSON JURY ON ALL MATTERS SO TRIABLE



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             Dated this 10th day of August 2022.

                                                    JEFFREY LEAVELL, S.C.

                                                    Electronically signed by Jeffrey Leavell
                                          By:       __________________________________
                                                    Jeffrey Leavell
                                                    State Bar No.: 1004734
                                                    Attorneys for Defendant and Third Party
                                                    Plaintiff Karl’s Country Market, Inc.
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